     Case 2:90-cv-00520-KJM-DB Document 8006 Filed 10/11/23 Page 1 of 3


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 8                                 UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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11    RALPH COLEMAN, et al.,                            No. 2:90-cv-0520 KJM DB P
12                       Plaintiffs,
13           v.                                         ORDER
14    GAVIN NEWSOM, et al.,
15                       Defendants.
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18                  As required by court order, ECF No. 7961, on October 5, 2023, the parties filed a

19   copy of the transcript of the remote deposition of Dr. Paul Burton conducted on August 28, 2023.

20   ECF No. 7999. The parties annotated the deposition transcript to reflect the designations and

21   counter designations by each party, as well as defendants’ objections to certain of plaintiffs’

22   designations and defendants’ stipulations to certain of plaintiffs’ designations as admitted for all

23   purposes. Id. at 2. In making its rulings here, the court has considered both objections stated

24   during the deposition and objections appearing in the margins of the deposition transcript. In this

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     Case 2:90-cv-00520-KJM-DB Document 8006 Filed 10/11/23 Page 2 of 3


 1   order, the court sets forth each objection that is sustained. Any objection not specifically
 2   referenced in this order is overruled.1
 3              1. Objection by Mr. Casarrubias at 14:14-152 to question by Ms. Harrold at 14:12-13
 4                  for lack of foundation and calling for speculation is sustained. Answer at 14:19-22
 5                  is disregarded.
 6              2. Objection by Mr. Casarrubias at 14:25-15:1 to question by Ms. Harrold at 14:23-
 7                  24 for lack of foundation and calling for speculation is sustained. Answer at 15:4
 8                  is disregarded.
 9              3. Objection by Mr. Casarrubias at 17:11-12 to question by Ms. Harrold at 17:9-10
10                  for being asked and answered is sustained. Answer at 17:13-16 is disregarded.
11              4. Objection by Mr. Casarrubias at 17:24-25 to question by Ms. Harrold at 17:22-23
12                  for calling for hearsay is sustained. Answer at 18:4-10 is disregarded.
13                  Defendants’ motion to strike the answer as non-responsive is mooted by the ruling
14                  on the hearsay objection.
15              5. Objection by Mr. Casarrubias at 38:11-12 to question by Ms. Harrold at 38:10 for
16                  assuming facts not in evidence is sustained. No response follows.
17              6. Objection by Mr. Casarrubias at 54:16-17 to question by Ms. Harrold at 54:13-15
18                  for lack of foundation and calling for speculation is sustained. Answer at 54:18-19
19                  is disregarded.
20              7. Objection by Mr. Casarrubias at 55:10 to question by Ms. Harrold at 55:8-9 for
21                  lack of foundation is sustained. Answer at 55:11-14 is disregarded.
22              8. Objection by Mr. Casarrubias at 57:9-10 to question by Ms. Harrold at 57:6-8 for
23                  lack of foundation and calling for speculation. Answer at 57:11-20 is disregarded.
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              The court construes plaintiffs’ representation that they do not object to any of
25   defendants’ counter-designations, ECF No. 7999 at 2, as withdrawal of all objections found
     within those counter-designations.
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              In this order citations to page and line numbers are to the deposition page number
27   located in the lower right hand corner of the deposition page itself and the line number(s) on the
     left hand column of the page.
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     Case 2:90-cv-00520-KJM-DB Document 8006 Filed 10/11/23 Page 3 of 3


 1              9. Objection by Mr. Casarrubias at 71:24 to question by Ms. Harrold at 71:22-23 for
 2                  vagueness is sustained. Answer at 72:3 is disregarded.
 3              10. Objection by Mr. Casarrubias at 82:23-24 to question by Ms. Harrold at 82:21-22
 4                  for calling for speculation is sustained. Answer at 82:25-83:3 is disregarded.
 5              11. Objections by defendants to question by Ms. Harrold at 83:18-20 for lack of
 6                  foundation, speculative, and lack of foundation is sustained. Answer at 83:21-84:8
 7                  is disregarded.
 8                  The court also notes the parties have reserved the right to file motions to strike
 9   portions of testimony elicited during the recent evidentiary hearing after the court overruled
10   certain objections without prejudice. The court orders the parties to meet and confer regarding
11   any motion to strike any party plans to file, and to exhaust efforts to narrow their disputes in this
12   regard before filing a motion.
13              IT IS SO ORDERED.
14   DATED: October 10, 2023.
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